Case 4:21-cr-20184-SDK-CI ECF No. 92, PageID.387 Filed 09/20/22 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




United States of America,

                                   Plaintiff,

v.                                                     Case No. 4:21−cr−20184−SDK−CI
                                                       Hon. Shalina D. Kumar
Michael Fraley, Jr, et al.,
                                   Defendant(s),




                                      NOTICE TO APPEAR

     The following defendant(s) are hereby notified to appear: Michael Fraley, Jr

   The defendant(s) shall appear before District Judge Shalina D. Kumar at the United States
District Court, Federal Building and U.S. Courthouse, 600 Church Street, Flint, Michigan, for
the following proceeding(s):

       • SENTENCING: January 26, 2023 at 11:00 AM

  ADDITIONAL INFORMATION:               Any sentencing memorandums are due at least one
week prior to the sentencing date.



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                                By: s/T. Hallwood
                                                    Case Manager

Dated: September 20, 2022
